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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  FORD MOTOR COMPANY,

        Plaintiff,                            Case No. 15-cv-10628
                                              (consolidated with Case No. 15-11624)
  v.                                          Hon. Matthew F. Leitman

  VERSATA SOFTWARE, INC. et al.

       Defendants.
  _________________________________/
  ORDER (1) DENYING IN PART PLAINTIFF’S MOTION FOR SUMMARY
  JUDGMENT (ECF ## 354, 358), (2) GRANTING IN PART AND DENYING
   IN PART DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT (ECF
    ## 379, 380), AND (3) GRANTING DEFENDANTS’ REQUEST TO FILE
                    SUPPLEMENTAL EXPERT REPORTS

        Defendant/Counter-Plaintiffs Versata Software, Inc., Versata Development

  Group, Inc., and Trilogy, Inc. (collectively, “Versata”) are computer software

  developers based in Austin, Texas. (See Sec. Am. Counterclaims at ¶6, ECF #244 at

  Pg. ID 12997.)     For more than two decades, Versata licensed automotive

  configuration software programs called “ACM,” “MCA,” and “ACS” (collectively,

  the “Versata Software”) to Plaintiff Ford Motor Company. (See id. at ¶8, Pg. ID

  12997.) In 2014, Ford decided to replace the Versata Software with an automotive

  configuration software program that it developed internally. (See Sec. Am. Compl.

  at ¶46, ECF #226 at Pg. ID 11723.) Ford called this software “PDO.” (See id.)




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        In this action, Ford seeks a declaratory judgment that PDO does not infringe

  and/or misappropriate patents, copyrights, and trade secrets belonging to Versata.

  (See generally, id.) Ford also claims Versata breached certain licensing agreements

  and contracts that the parties had executed, including a “Master Subscription and

  Services Agreement” executed in 2004 (the “MSSA”). (See id.) Versata has filed

  counterclaims for infringement of the same patents and copyrights, misappropriation

  of the same trade secrets, and breaches of the same contracts. (See Ans. and Sec.

  Am. Counterclaims, ECF #244.)

        On February 1, 2018, and February 13, 2018, Ford and Versata filed cross-

  motions for summary judgment with respect to many of these claims and

  counterclaims. (See Ford Mot., ECF ## 354, 358; Versata Mot., ECF ## 379, 380.)

  On July 10, 2018, the Court entered an order referring the patent portions of the

  summary judgment motions to Special Master Lawrence Graham. (See ECF #509.)

  The Court then held a hearing on the non-patent portions of the cross-motions on

  July 24, 2018. (See ECF #497.) During that hearing, the Court ruled on some

  portions of the cross-motions, and it took other aspects of the motions under

  advisement. (See ECF #516.)      The Court now issues this order resolving the

  remaining non-patent portions of the summary judgment motions.




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                                            I

      (Ford’s Motion for Summary Judgment on Counts 4 and 6 of its Second
      Amended Complaint and Counts 9 and 13 of Versata’s Counterclaims –
            Dispute Regarding Who Owns the Relevant Trade Secrets)

        In Count 4 of Ford’s Second Amended Complaint, Ford seeks a declaratory

  judgment that it “owns, or is licensed to reproduce” the ACM software. (See Sec.

  Am. Compl. at ¶¶ 73-78, ECF #226 at Pg. ID 11728-29.) In Count 6 of Ford’s

  Second Amended Complaint, Ford seeks a declaratory judgment that it did not

  misappropriate, and indeed could not have misappropriated, the trade secrets

  embedded in the Versata Software because, among other things, it “either owns, or

  has a royalty-free license to reproduce the [Versata] [S]oftware.” (Id. at ¶89, Pg. ID

  11731.)

        Versata raises the same ownership issues in Counts 9 and 13 of its

  counterclaims. In those counterclaims, Versata says that it “developed and owns”

  the trade secrets embedded in the Versata Software and that Ford “misused,

  misappropriated, and disclosed” those trade secrets. (Sec. Am. Counterclaims at ¶¶

  136-139, 160-166, ECF #244 at Pg. ID 13029-30, 13034-36.)

        Ford moved for summary judgment on the claims and counterclaims

  identified above on the ground that it “owns” the trade secrets embedded within the




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  Versata Software.1 (Ford Mot., ECF #354 at Pg. ID 18659.) The Court concludes

  that Ford is not entitled to summary judgment on that ground. When Ford agreed to

  the MSSA in 2004, it “irrevocably acknowledge[d] … that [it] ha[d] no ownership

  interest in the Software….” (MSSA at § 6.1, ECF #366-16 at Pg. ID 20774. See also

  MSSA at § 7.6, Pg. ID 20774: “Subject to the licenses granted herein, Ford has no

  ownership interest in the Software….”).                            And as defined in the MSSA, the

  “Software” that Ford disclaimed an ownership interest in included the Versata

  Software.2 Based on this unambiguous acknowledgment, Ford cannot now claim an

  ownership interest in the trade secrets embedded in the Versata Software.

                Ford counters that the trade secrets embedded within the Versata Software are

  distinct from the Versata Software itself. Ford therefore insists that even if it

  disclaimed ownership of the Versata Software, it still may claim an ownership



                                                              
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    Ford also argued that it is entitled to summary judgment on Count 6 of its Second
  Amended Complaint and Counts 9 and 13 of Versata’s Second Amended
  Counterclaims because Versata did not take reasonable measures to maintain the
  secrecy of the trade secrets at issue. (See Ford Mot., ECF #354 at Pg. ID 18643-58.)
  The Court denied this portion of Ford’s motion on the record at the summary
  judgment hearing. (See ECF #516 at Pg. ID 40420-21.)
  2
   The MSSA defined “Software” as, among other things, “the Applications listed in
  any Subscription Schedule issued hereunder.” (MSSA, ECF #366-16 at Pg. ID
  20770.) Subsequent Subscription Schedules listed “Automotive Configuration
  Services (ACS) v.2.1,” “Material Cost Analytics (MCA) v.05,” and “the Trilogy
  ACM Software” as “Applications.” (See ECF #372-2 at Pg. ID 22562; ECF #372-3
  at Pg. ID 22572.) Therefore, the Versata Software qualifies as “Software” under the
  MSSA.

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  interest in the relevant trade secrets. The Court simply is not persuaded that, for

  ownership purposes, the trade secrets are distinct from the software that Ford

  “irrevocably acknowledge[d]” it did not own.

         Accordingly, because Ford “irrevocably acknowledge[d]” in the MSSA that

  it did not own the Versata Software, the Court DENIES Ford’s motion for summary

  judgment with respect to Counts 4 and 6 of its Second Amended Complaint and

  Counts 9 and 13 of Versata’s Second Amended Counterclaims.

                                          II

       (Versata’s Motion for Summary Judgment on Counts 4 and 5 of Ford’s
      Second Amended Complaint – Dispute Regarding Who Owns the Relevant
                                 Trade Secrets)

         As noted above, in Count 4 of Ford’s Second Amended Complaint, Ford seeks

  a declaratory judgment that it owns the ACM software. (See Sec. Am. Compl. at ¶¶

  73-78, ECF #226 at Pg. ID 11728-29.) And in Count 5 of Ford’s Second Amended

  Complaint, Ford seeks a declaratory judgment that it owns other “software

  deliverables” that Versata produced and delivered to Ford (i.e., the Versata

  Software). (Id. at ¶¶ 79-83, Pg. ID 11729-30.)

         Versata sought summary judgment on these two counts of Ford’s Second

  Amended Complaint on the basis that it (Versata), not Ford, owns the Versata

  Software and the trade secrets embedded within that software. (See Versata Mot.,

  ECF #379 at Pg. ID 22787-89.) The Court agrees. For all of the reasons stated in


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  Section I above, Versata owns the Versata Software under the MSSA. Indeed, Ford

  “irrevocably acknowledge[d]” in the MSSA that it did not own the Versata Software.

  (MSSA at § 6.1, ECF #366-16 at Pg. ID 20774.)

                Thus, because Versata owns the Versata Software and the trade secrets

  embedded within that software under the MSSA, the Court GRANTS Versata

  summary judgment on Counts 4 and 5 of Ford’s Second Amended Complaint.3

                                                                 III

          (Versata’s Motion for Summary Judgment of Count 11 of its Second
         Amended Counterclaims – Versata’s Allegations that Ford Breached the
                MSSA By “Reverse Engineering” the Versata Software)

                In Count 11 of Versata’s Second Amended Counterclaims, Versata alleges,

  among other things, that Ford breached Section 1.7 of the MSSA when Ford

  developed PDO. (See Sec. Am. Counterclaims at ¶¶ 148-156, ECF #244 at Pg. ID

  13032-33.) Section 1.7 prohibits Ford from “reverse engineering” the Versata

  Software. (See id. at ¶155, Pg. ID 13033.)                           That section defines “reverse

  engineering” in relevant part as follows:

                                                              
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    The Court notes for clarity that in Counts 4 and 5 of Ford’s Second Amended
  Complaint, Ford seeks only a declaration that it owns the Versata Software. Versata
  has not moved for summary judgment on its affirmative claim that Ford
  misappropriated Versata’s trade secrets, and the Court makes no such holding today.
  The Court holds only that Versata, not Ford, owns the Versata Software – and the
  trade secrets embedded within that software – under the MSSA and that Versata is
  therefore entitled to summary judgment on Counts 4 and 5 of Ford’s Second
  Amended Complaint. Whether Ford misappropriated Versata’s trade secrets is an
  issue to be decided at trial.

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              Disassembling, Decompiling, and reverse engineering
              include[s], without limitation, “(i) converting the Software
              from a machine-readable form into a human-readable
              form;” [….] (iii) examining the machine-readable object
              code that controls the Software’s operation and creating
              the original source code or any approximation thereof by,
              for example, studying the Software’s behavior in response
              to a variety of inputs;” [and] (iv) performing any other
              activity related to the Software that could be construed to
              be reverse engineering, disassembling, or decompiling.

  (MSSA at § 1.7, ECF #366-16 at Pg. ID 20771.)

        In Versata’s summary judgment motion, it argues that Ford “reverse

  engineered” the Versata Software in violation of Section 1.7 when Ford inputted

  identical data into both ACM and PDO and then “studied” the “outputs” from

  Versata’s software “for the purpose of ensuring that [PDO] produced identical

  outputs.” (Versata Mot., ECF #379 at Pg. ID 22790.)

        The Court declines to grant Versata summary judgment on the basis that Ford

  breached Section 1.7 by “reverse engineering” the Versata Software. For the reasons

  stated on the record in the Court’s questions to the parties on this issue at the

  summary judgment hearing, the “reverse engineering” clause in Section 1.7 is

  ambiguous and not subject to interpretation as a matter of law. (See 7/24/2018

  Hearing Tr., ECF #519 at Pg. ID 40587-95.) In particular, it is not clear whether

  Section 1.7 prohibits any and all “studying [of] the Software’s behavior in response

  to a variety of inputs,” or whether Section 1.7 prohibits only such studying that is

  part of an effort to “examin[e] the machine-readable object code that controls the
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  Software’s operation and create[e] the original source code or any approximation

  thereof….” This ambiguity precludes summary judgment because, on this record, a

  jury could reasonably find that even if Ford studied the Versata Software’s output in

  response to certain inputs, it did not do so as part of an effort to examine the Versata

  Software’s machine-readable object code and/or to create the original source code

  or an approximation thereof.

        Therefore, the Court DENIES Versata summary judgment on its claim in

  Count 11 of its Second Amended Counterclaims that Ford breached Section 1.7 by

  “reverse engineering” the Versata Software.

                                            IV

       (Versata’s Motion for Summary Judgment of Count 14 of its Second
       Amended Counterclaims – Versata’s Allegation That Ford Infringed
                              Versata’s Copyrights)

        In Count 14 of Versata’s Second Amended Counterclaims, Versata alleges

  that Ford infringed Versata’s “exclusive copyrights” in the Versata Software in a

  variety of ways. (Sec. Am. Counterclaims at ¶¶ 172-73, ECF #244 at Pg. ID 13036-

  37.) In Versata’s summary judgment motion, it moved for summary judgment on

  its copyright infringement claim in two respects. The Court concludes that Versata

  is not entitled to summary judgment in either respect.

        First, Versata argued in its summary judgment motion that Ford infringed its

  (Versata’s) copyrights when Ford used the Versata Software in a manner that


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  exceeded Ford’s license under the MSSA. (See Versata Mot., ECF #379 at Pg. ID

  22797.)                 For example, Versata asserted that Ford copied Versata’s copyrighted

  “.jar” files into Ford’s “PDO repository” for the purpose of “reverse engineering”

  the Versata Software. (Id.) Versata insisted that because Section 1.7 of the MSSA

  prohibited “reverse engineering,” Ford’s copying and use of Versata’s copyrighted

  files in this manner was unlicensed, and thus constituted copyright infringement.

  (See id.) However, for all of the reasons stated in Section III above, a jury could

  reasonably find that Ford did not conduct “reverse engineering” in violation of

  Section 1.7. Therefore, the Court cannot conclude as a matter of law that Ford’s

  actions exceeded the scope of its software license under the MSSA and constituted

  infringement of Versata’s copyrights.

                Second, Versata argued in its summary judgment motion that its copyrighted

  “.jar” files “existed in Ford’s PDO environment after [Ford’s] license to the ACM

  software expired.” (Id. at Pg. ID 22798.) Versata insisted that this unlicensed use of

  the Versata Software also infringed its copyrights. But Ford has presented evidence

  that, if credited by a jury, could establish that it did not have any of Versata’s

  copyrighted files in its possession after Ford’s license to use the files terminated.

  (See ECF #464-10.)4 Therefore, there is a material factual dispute with respect to


                                                              
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   This exhibit consists of screenshots from Ford’s PDO software repository which
  show, according to Ford, that Versata’s copyrighted “.jar” files were “missing” and
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  whether Ford possessed any of Versata’s copyrighted software files after its software

  license expired.

                For all of these reasons, the Court DENIES Versata’s motion for summary

  judgment on its claim in Count 14 of its Second Amended Counterclaims that Ford

  infringed Versata’s copyrights.

                                                                 V

      (Ford’s Motion for Summary Judgment of Count 1 of Ford’s Complaint in
          Case No. 15-cv-11264 and Count 14 of Versata’s Second Amended
         Counterclaims – Versata’s Allegation That Ford Infringed Versata’s
                                    Copyrights)

                In Count 1 of Ford’s Complaint in Case No. 15-cv-11264, Ford seeks a

  declaratory judgment that its PDO software “does not infringe any rights [Versata]

  claim[s] under the Copyright Act or otherwise violate other applicable federal or

  state laws.”5 (Compl. at ¶65, Case No. 15-cv-11264, ECF #1 at Pg. ID 14.) As

  described above, in Count 14 of Versata’s Second Amended Counterclaims, Versata

  alleges that Ford infringed Versata’s copyrights in the Versata Software. (Sec. Am.

  Counterclaims at ¶¶ 172-73, ECF #244 at Pg. ID 13036-37.) In Ford’s summary


                                                              
  did not exist in the repository after Ford’s license to use the Versata Software
  expired.
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    On July 14, 2015, the Court entered a stipulated order consolidating this action
  (Case No. 15-cv-10628) with the action Ford filed in Case No. 15-cv-11624. (See
  ECF #28.) The parties have made all subsequent filings in this action. Unless
  otherwise indicated, all citations and ECF references in this order correspond to the
  docket numbers in this action (Case No. 15-cv-10628).
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  judgment motion, it moved for summary judgment on these claims on two grounds.

  The Court concludes that Ford is not entitled to summary judgment on either ground.

        First, Ford argued that it only used the Versata Software in accordance with

  its license, and it did not “reverse engineer” the Versata Software in violation of

  Section 1.7 of the MSSA. (See Ford Mot., ECF #354 at Pg. ID 18664-65.) Ford

  therefore insisted that its use of the Versata Software could not have infringed

  Versata’s copyrights. (See id.)      However, as described above, the “reverse

  engineering” language in Section 1.7 is ambiguous and is not susceptible to

  interpretation as a matter of law. A jury could reasonably conclude that Ford’s study

  of the outputs of the Versata Software did violate Section 1.7 and did exceed the

  scope of Ford’s license under the MSSA. Thus, Ford is not entitled to summary

  judgment on Versata’s copyright infringement claim on the ground that Ford’s use

  of the Versata Software fell entirely within the scope of Ford’s license (and permitted

  uses) under the MSSA.

        Second, Ford argued that it did not infringe Versata’s copyrights by using or

  possessing Versata’s copyrighted software files after Ford’s right to use or possess

  those files expired. (See id. at Pg. ID 18664.) But there is a material factual dispute

  with respect to whether Ford had Versata’s copyrighted software files in the PDO

  environment after the term of Ford’s license to use those files ended. Indeed, Versata

  has identified evidence that, if credited by a jury, could establish that Ford did have


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  Versata’s copyrighted files in its possession after Ford’s license to use the files

  terminated. (See Supplemental Declaration of Seth Krauss at ¶¶ 2-8, ECF #201 at

  Pg. ID 9631-34.) Ford is therefore not entitled to judgment as a matter of law on the

  basis that it did not use or possess Versata’s copyrighted software files after the term

  of its license expired.

        Accordingly, the Court DENIES Ford summary judgment with respect to

  Count 1 of its Complaint in Case No. 15-cv-11264 and Count 14 of Versata’s Second

  Amended Counterclaims.

                                            VI

     (Versata’s Motion for Summary Judgment of Count 8 of Ford’s Second
   Amended Complaint – Ford’s Allegation that Versata Breached the MSSA by
                   Improperly Terminating the Agreement)

        In Count 8 of Ford’s Second Amended Complaint, Ford alleges that Versata

  improperly terminated the MSSA and “prohibited Ford from exercising its option to

  continue use of [the Versata] [S]oftware through December 31, 2015.” (Sec. Am.

  Compl. at ¶106, ECF #226 at Pg. ID 11734.) In Versata’s summary judgment

  motion, it argued that it is entitled to summary judgment on this claim for two

  reasons. The Court concludes that neither ground supports judgment as a matter of

  law in Versata’s favor.

        First, Versata argued that it did not breach the MSSA when it terminated that

  agreement. According to Versata, the termination provision of the MSSA allowed


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  it to terminate the agreement “by providing written notice sixty days prior” to what

  the MSSA defined as the “Annual Renewal Period.” (Versata Mot., ECF #379 at Pg.

  ID 22785.) Versata said that the last relevant “Annual Renewal Period” began on

  January 15, 2014, and ended on January 14, 2015. (See id. at 22785-86.) Versata

  therefore insisted that it fully complied with the MSSA’s termination provision when

  it provided Ford termination notices on October 7, 2014, and November 13, 2014,

  and then terminated Ford’s access to the Versata Software on January 15, 2014.

        However, as the Court indicated in its questions to the parties on the record

  during the motion hearing, an addendum to the MSSA creates an ambiguity

  concerning when Versata could start the termination process. (See 7/24/18 Hearing

  Tr., ECF #519 at Pg. ID 40601-08.) A jury could reasonably conclude that under

  the addendum, Versata was not permitted to start the termination process by sending

  notices of termination until January 15, 2015. Thus, a jury could reasonably

  conclude that Versata breached the MSSA when it sent termination notices to Ford

  in October and November of 2014. Moreover, there are material factual disputes

  concerning when the last Annual Renewal Period started and ended. For these

  reasons, the Court cannot conclude as a matter of law that Versata properly

  terminated the MSSA.

        Second, Versata argued in its summary judgment motion that even if it

  breached the termination provision of the MSSA, Ford did not suffer any damages


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  from that breach. (See Versata Mot., ECF #379 at Pg. ID 22784-22787.) But Ford

  has presented evidence from which a jury could reasonably conclude that it did suffer

  damages from Versata’s termination of the MSSA. For example, Ford’s manager of

  software development, Mike Sullivan, said in a sworn declaration that Versata’s

  improper termination of the MSSA caused “Ford [to] incur[] more than $50,000 in

  unexpected overtime costs due to the accelerated deployment of [PDO] and

  decommissioning of [the Versata Software].” (Sullivan Declaration at ¶6, ECF

  #427-18 at Pg. ID 28931.) In addition, even if Ford did not suffer actual damages

  from Versata’s improper termination, it still is entitled to seek “nominal damages”

  for breach of contract under Michigan law. See McElwee v. Wharton, 7 F. App’x

  437, 438 (6th Cir. 2001) (affirming award of $1 in nominal damages in breach of

  contract action under Michigan law). For all of these reasons, Versata is not entitled

  to summary judgment on the basis Ford did not suffer damages from Versata’s

  alleged breach of the MSSA.

        Accordingly, the Court DENIES Versata’s motion for summary judgment

  with respect to Count 8 of Ford’s Second Amended Complaint.

                                           VII

            (Versata’s Request to Serve Supplemental Expert Reports)

        On July 9, 2018, the Court issued an Opinion and Order on several motions

  that the parties had filed to exclude expert witnesses. (See ECF #507.) Among other


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  things, the Court granted Ford’s motions to exclude the testimony of Versata

  damages experts Christopher Bokhart and Craig Elson as to the damages that Versata

  allegedly suffered as a result of Ford’s implementation of the PDO software. (See

  id.) The Court concluded that Bokhart’s damages model was flawed because, among

  other things, he did not “apportion” damages between the patented and unpatented

  features of the Versata Software. (Id. at Pg. ID 40210-14.) And the Court held that

  Elson’s damages model was insufficient because he did not use a “reasonable

  royalty” model and did not take into consideration the parties’ licensing history when

  he calculated Versata’s claimed damages. (Id. at Pg. ID 40219-26.) The Court also

  determined that Elson did not properly apportion Versata’s alleged damages. (See

  id. at Pg. ID 40227-34.)

        On July 16, 2018, Versata requested that the Court “give Versata an

  opportunity to revise its damages model in light of the Court’s July 9, 2018,”

  Opinion and Order. (ECF #514 at Pg. ID 40348.) Specifically, Versata asked for

  leave to “supplement the reports of [] Bokhart and [] Elson to provide reasonably

  royalty calculations for patent damages and trade secrets damages based on the

  parties’ past business relationship, as well as [to] address the Court’s guidance

  regarding apportionment [of damages].” (Id. at Pg. ID 40352.) Ford opposed

  Versata’s request. (See ECF #513.)




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                Ford and Versata have each acknowledged that whether to allow a party to

  serve supplemental expert reports to address defects identified in a Daubert ruling

  is left to a court’s discretion. (See ECF #513 at Pg. ID 40344; ECF #514 at Pg. ID

  40350.) District courts have exercised that discretion to allow a party to supplement

  expert reports after an expert is excluded in a Daubert ruling. See, e.g., Digital Reg

  of Texas, LLC v. Adobe Systems, Inc., 2014 WL 4090550, at *4 (N.D. Cal. Aug. 19,

  2014) (excluding expert report but allowing expert “to submit a revised damages

  report curing [] the problems identified in [the court’s] order”); Golden Bridge

  Technology v. Apple, Inc., 2014 WL 2194501, at *14 (N.D. Cal. May 18, 2014)

  (refusing to admit expert opinions “in their current form” but allowing expert

  “another shot” to “tender a new damages report in accordance with the [court’s]

  guidance”); Prism Technologies, LLC v. Sprint Spectrum L.P., 2015 WL 350503, at

  ** 2-3 (D. Neb. Jan. 23, 2015) (granting motion to supplement expert reports

  following entry of order resolving Daubert motions).6



                                                              
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    Ford relies on two cases from the United States Court of Appeals for the Sixth
  Circuit for the proposition that the Court should not grant Versata leave to
  supplement its expert reports: Nelson v. Tenn. Gas Pipeline Co., 243 F.3d 244, 250
  (6th Cir. 2001), and Pride v. BIC Corp., 218 F.3d 566, 579 (6th Cir. 2000). In both
  Nelson and Pride, the Sixth Circuit recognized that district courts have discretion to
  allow a party to supplement an expert report and held that the trial courts did not
  abuse that discretion where the trial courts denied leave to supplement. But those
  holdings do not prohibit a district court from exercising its discretion to allow a party
  to file supplemental reports.
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        The Court concludes that allowing Versata to serve supplemental expert

  reports, under the strict conditions described in this order, is appropriate for two

  reasons. First, allowing Versata to supplement its expert reports will not cause a

  material disruption in the schedule in this action. There is no currently-scheduled

  trial date, and there is a substantial amount of work left to be done before this case

  could conceivably go to trial. That additional pre-trial work includes, at a minimum:

  (1) the Special Master must issue a Report and Recommendation on the patent

  portions of the summary judgment motions, (2) the Court must review that

  recommendation and rule on any objections the parties may raise to it, (3) the parties

  must fully brief, and the Court must rule on, Ford’s recently-filed summary judgment

  motion with respect to Versata’s claims that Ford infringed Versata’s copyrights (see

  ECF ## 526, 532), (4) the parties must complete discovery with respect to Ford

  computer software commonly referred to as “PDOR2” and resolve any potential

  disputes related to that discovery, (5) the parties must file Daubert and summary

  judgment motions with respect to the issues related to PDOR2, and (6) the Court

  must rule on those motions. In short, the Court does not believe that the schedule

  will be significantly affected if Versata is allowed to serve supplemental expert

  reports.

        Second, precluding Versata from supplementing its expert reports and

  presenting its proposed expert testimony would create a risk of jury confusion. At


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  trial, Versata will be seeking trade secret and patent infringement damages based

  upon Ford’s use and development of both the PDO software and the PDOR2

  software.                    Versata’s damages experts completed their analysis and reports

  concerning damages related to PDOR2 after the Court issued its ruling on their PDO

  damages reports, and thus the experts presumably modified their PDOR2 reports and

  analysis to conform to the Court’s requirements. Thus, as things currently stand,

  even though the jury will be asked to award damages related to PDO and PDOR2,

  Versata will only be permitted to present expert testimony as to how to determine

  those damages with respect to PDOR2 alone. The Court is concerned that this

  dichotomy may confuse the jury and that the jury would be left to speculate as to

  how to reconcile the lack of expert testimony on PDO damages with the presence of

  such testimony on PDOR2 damages. The Court believes that permitting Versata to

  present expert damages testimony with respect to claimed damages from both PDO

  and PDOR2 will enhance the reliability of the jury’s analysis and conclusions.7

                The Court recognizes that there are important policy considerations that weigh

  against allowing Versata to supplement its expert reports.                The parties spent


                                                              
  7
    The Court does not mean to suggest that it has already decided to admit Versata’s
  expert damages testimony on PDOR2 or that the Court will necessarily admit the
  revised analysis of Bokhart and Elson concerning PDO damages. If Ford challenges
  the admissibility of such testimony, the Court will evaluate the admissibility of the
  testimony at that time. At this time, the Court is simply ruling that Versata should
  have the opportunity to present supplemental reports from its experts.
                                                                 18
   
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  substantial time and money preparing the first round of expert reports and Daubert

  motions, and the Court is loath to allow a party to submit an expert report, have the

  Court explain why that expert report is insufficient, and then get a “second bite of

  the apple.” But under the circumstances of this action, and given the posture of these

  proceedings, the Court concludes that allowing Versata to serve supplemental expert

  reports is appropriate. However, the Court will place strict conditions on these

  reports. Versata must serve the supplemental reports on Ford within 30 days of this

  order, and Versata must make Bokhart and Elson available for deposition within 30

  days after serving their supplemental expert reports. Ford will not be required to

  serve rebuttal reports in response to the supplemental reports, nor will Ford be

  required to make its own damages experts available for another deposition with

  respect to the issues addressed in the supplemental reports.

                                          VIII

        For all of the reasons stated above, and the reasons stated at the hearing on the

  parties’ cross-motions for summary judgment, IT IS HEREBY ORDERED that:

       Ford’s motion for summary judgment (ECF ## 354, 358) is DENIED with

        respect to Counts 4 and 6 of its Second Amended Complaint (ECF #226),

        Count #1 of its Complaint in Case No. 15-cv-11264, and Counts 9, 13, and 14

        of Versata’s Second Amended Counterclaims (ECF #244);




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       Versata’s motion for summary judgment (ECF ## 379, 380) is GRANTED

         with respect to Counts 4 and 5 of Ford’s Second Amended Complaint and

         DENIED with respect to Count 8 of Ford’s Second Amended Complaint and

         Counts 11 and 14 of its Second Amended Counterclaims; and

       Versata’s experts Christopher Bokhart and Craig Elson may file supplemental

         expert reports under the conditions described in this order.


                                          s/Matthew F. Leitman
                                          MATTHEW F. LEITMAN
  Dated: September 7, 2018                UNITED STATES DISTRICT JUDGE



         I hereby certify that a copy of the foregoing document was served upon the
  parties and/or counsel of record on September 7, 2018, by electronic means and/or
  ordinary mail.

                                          s/Holly A. Monda
                                          Case Manager
                                          (810) 341-9764
   

   




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